Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 1 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 2 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 3 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 4 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 5 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 6 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 7 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 8 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 9 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 10 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 11 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 12 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 13 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 14 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 15 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 16 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 17 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 18 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 19 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 20 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 21 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 22 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 23 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 24 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 25 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 26 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 27 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 28 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 29 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 30 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 31 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 32 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 33 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 34 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 35 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 36 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 37 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 38 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 39 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 40 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 41 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 42 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 43 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 44 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 45 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 46 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 47 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 48 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 49 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 50 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 51 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 52 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 53 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 54 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 55 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 56 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 57 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 58 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 59 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 60 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 61 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 62 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 63 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 64 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 65 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 66 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 67 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 68 of 69
Case 2:22-cv-14102-DMM Document 226 Entered on FLSD Docket 07/14/2022 Page 69 of 69
